           Case 2:06-cr-00441-DAD Document 448 Filed 04/26/12 Page 1 of 3


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JILL M. THOMAS
     Assistant U.S. Attorney
 3   501 "I" Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2790
 5
 6
 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    ) CR S-06-0441 GEB
                                  )
12                    Plaintiff, ) STIPULATION AND [PROPOSED] ORDER
                                  ) RESETTING STATUS CONFERENCE,
13                v.              ) AND EXCLUDING TIME UNDER THE
                                  ) SPEEDY TRIAL ACT
14   ISAURO JAUREGUI CATALAN,     )
                                  )
15                    Defendant. )
     _____________________________)
16
17        The United States of America, through its counsels of record,
18   Benjamin B. Wagner, United States Attorney for the Eastern District
19   of California, and Jill M. Thomas, Assistant United States Attorney,
20   defendant Isauro Jauregui Catalan, through his counsel of record,
21   Edward C. Bell, Esq.,    hereby stipulate and agree that the status
22   conference set for April 27, 2012, be continued to May 25, 2012, at
23   9:00 a.m.
24         The parties stipulate that the time beginning April 27, 2012,
25
     and extending through May 25, 2012, should be excluded from the
26
     calculation of time under the Speedy Trial Act.          The parties submit
27
28   that the ends of justice are served by the Court excluding such time

                                           1
           Case 2:06-cr-00441-DAD Document 448 Filed 04/26/12 Page 2 of 3


 1   for reasonable time for effective preparation, specifically the
 2   continuance is requested to allow time for the preparation of the
 3
     pre-plea report and the culmination of negotiations for resolution.
 4
     18 U.S.C. §3161(h)(8)(B)(iv); Local Code T4.            The Court finds that
 5
 6   the interests of justice served by granting this continuance

 7   outweigh the best interests of the public and the defendant in a

 8   speedy trial.   18 U.S.C. § 3161(h)(8)(A).
 9
      IT IS SO STIPULATED.
10
                                                 BENJAMIN B. WAGNER
11                                               United States Attorney
12   Dated: April 25, 2012             By:       /s/ Jill M. Thomas
                                                 JILL M. THOMAS
13                                               Assistant U.S. Attorney
                                                 Attorney for Plaintiff
14
15   DATED: April 25, 2012             By:       /s/ Edward C. Bell
                                                 EDWARD C. BELL
16                                               Attorney for Defendant
                                                 ISAURO JAUREGUI CATALAN
17
18
19
20
21
22
23
24
25
26
27
28

                                             2
              Case 2:06-cr-00441-DAD Document 448 Filed 04/26/12 Page 3 of 3


 1   ________________________________________________________________
                                     ORDER
 2
          UPON GOOD CAUSE SHOWN and by stipulation of all parties, it is
 3
     hereby ordered that this matter be set for further status conference
 4
     as set forth above.
 5
          The Court finds excludable time as set forth above to and
 6
     including May 25, 2012.
 7
 8
          IT IS SO ORDERED.
 9
10   Dated:     April 25, 2012

11
12                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                              3
